                                            Case 16-17789                           Doc 78-1
                                                                                        76-1 Filed 11/11/19
                                                                                                     10/30/19 Entered 11/11/19
                                                                                                                        10/30/19 12:51:28
                                                                                                                                 14:57:37                                                                                       Desc Exhibit
                                                                                           A - mfr payment
                                                                                                     A Page history
                                                                                                               24 of 25
                                                                                                                     Page 1 of 1
                                                                                                                               Payment Changes
                                                                                        Date                   P&I                Escrow       Total                  Notice Filed
                                                                                               6/1/2016              $1,045.76       $801.94         $1,847.70        Filed w/ POC
                                                                                               11/1/2016             $1,045.76       $941.73         $1,987.49        NOPC
                                                                                               11/1/2017             $1,045.76       $709.10         $1,754.86




                   Loan Information
Loan #
Borrower               MALONEY
BK Case #              16-17789
Date Filed             5/26/2016
First Post Petition
Due Date               6/1/2016
POC Covers

        Date                  Amount Rcvd   Late Charges Incurred   Post Pet Due Date   Contractual Due Date         Amt Due       Over/Short     Suspense Credit   Suspense Debit       Suspense Balance POC Arrears Credit   POC Debit   POC Suspense Balance POC Paid to Date    Comments
          6/16/2016            $1,900.64                                6/1/2016                                     $1,847.70           $52.94              $52.94                                 $52.94                                                 $0.00            $0.00
          7/18/2016            $1,847.70                                7/1/2016                                     $1,847.70            $0.00                                                     $52.94                                                 $0.00            $0.00
          8/17/2016            $1,847.70                                8/1/2016                                     $1,847.70            $0.00                                                     $52.94                                                 $0.00            $0.00
         11/17/2016            $1,987.49                                9/1/2016                                     $1,847.70          $139.79       $139.79                                      $192.73                                                 $0.00            $0.00
          1/26/2017            $1,847.70                               10/1/2016                                     $1,847.70            $0.00                                                    $192.73                                                 $0.00            $0.00
          3/21/2017            $1,987.49                               11/1/2016                                     $1,987.49            $0.00       $139.79                                      $332.52                                                 $0.00            $0.00
          4/17/2017            $2,000.00                               12/1/2016                                     $1,987.49           $12.51       $12.51                                       $345.03                                                 $0.00            $0.00
          6/13/2017            $1,987.49                                1/1/2017                                     $1,987.49            $0.00                                                    $345.03                                                 $0.00            $0.00
          6/14/2017            $1,987.49                                2/1/2017                                     $1,987.49            $0.00                                                    $345.03                                                 $0.00            $0.00
          6/30/2017            $1,987.49                                3/1/2017                                     $1,987.49            $0.00                                                    $345.03                                                 $0.00            $0.00
          7/31/2017            $1,987.49                                4/1/2017                                     $1,987.49            $0.00                                                    $345.03                                                 $0.00            $0.00
           2/8/2019            $1,754.86                                5/1/2017                                     $1,987.49         -$232.63                           $345.03                    $0.00                                                 $0.00            $0.00
          2/27/2019            $27,078.43                               6/1/2017                                     $1,987.49       $25,090.94     $25,090.94           $1,987.49              $23,103.45                                                 $0.00            $0.00
          2/27/2019                                                     7/1/2017                                                          $0.00                          $1,987.49              $21,115.96                                                 $0.00            $0.00
          2/27/2019                                                     8/1/2017                                                          $0.00                          $1,987.49              $19,128.47                                                 $0.00            $0.00
          2/27/2019                                                     9/1/2017                                                          $0.00                          $1,987.49              $17,140.98                                                 $0.00            $0.00
          2/27/2019                                                    10/1/2017                                                          $0.00                          $1,987.49              $15,153.49                                                 $0.00            $0.00
          2/27/2019                                                    11/1/2017                                                          $0.00                             $1,754.86           $13,398.63                                                 $0.00            $0.00
          2/27/2019                                                    12/1/2017                                                          $0.00                             $1,754.86           $11,643.77                                                 $0.00            $0.00
          2/27/2019                                                     1/1/2018                                                          $0.00                             $1,754.86            $9,888.91                                                 $0.00            $0.00
          2/27/2019                                                     2/1/2018                                                          $0.00                             $1,754.86            $8,134.05                                                 $0.00            $0.00
          2/27/2019                                                     3/1/2018                                                          $0.00                             $1,754.86            $6,379.19                                                 $0.00            $0.00
          2/27/2019                                                     4/1/2018                                                          $0.00                             $1,754.86            $4,624.33                                                 $0.00            $0.00
          2/27/2019                                                     5/1/2018                                                          $0.00                             $1,754.86            $2,869.47                                                 $0.00            $0.00
          2/27/2019                                                     6/1/2018                                                          $0.00                             $1,754.86            $1,114.61                                                 $0.00            $0.00
          6/19/2019             $3,509.72                               7/1/2018                                     $1,754.86        $1,754.86           $1,754.86                              $2,869.47                                                 $0.00            $0.00
          6/19/2019                                                     8/1/2018                                                          $0.00                              $1,754.86           $1,114.61                                                 $0.00            $0.00
           7/1/2019             $1,754.86                               9/1/2018                                     $1,754.76            $0.10               $0.10                              $1,114.71                                                 $0.00            $0.00
          9/24/2019             $3,509.72                              10/1/2018                                     $1,754.86        $1,754.86           $1,754.82                              $2,869.53                                                 $0.00            $0.00
                                                                       11/1/2018                                     $1,754.86       -$1,754.86                          $1,754.86               $1,114.67                                                 $0.00            $0.00
                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
                                                                       12/1/2018                                     $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       1/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       2/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       3/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       4/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       5/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       6/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       7/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       8/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       9/1/2019                                      $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                       10/1/2019                                     $1,754.86       -$1,754.86                                                  $1,114.67                                                 $0.00            $0.00
                                                                                               SUSPENSE              -$1,114.61       $1,114.61                                                  $1,114.67                                                 $0.00            $0.00
                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
                                                                                                                     $18,188.85     -$18,188.85                                                  $1,114.67                                                 $0.00            $0.00
                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
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                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
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                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
                                                                                                                                          $0.00                                                  $1,114.67                                                 $0.00            $0.00
